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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                        MIDLAND/ODESSA DIVISION


THE STATE OF TEXAS, MAYO                    §
PHARMACY, INC.,                             §
     Plaintiffs,                            §                MO:23-CV-00022-DC
                                            §
v.                                          §
                                            §
UNITED STATES DEPARTMENT                    §
OF HEALTH AND HUMAN                         §
SERVICES, XAVIER BECERRA, IN                §
HIS OFFICIAL CAPACITY AS                    §
SECRETARY OF HEALTH AND                     §
HUMAN SERVICES; AND                         §
UNITED STATES DEPARTMENT                    §
OF HEALTH AND HUMAN                         §
SERVICES OFFICE FOR CIVIL                   §
RIGHTS,                                     §
     Defendants.

                                 FINAL JUDGMENT

      In accordance with the Court’s Memorandum Opinion (Doc. 69), Defendants’

Motion Summary Judgment is granted. Because nothing remains in the case to resolve, the

Court renders Final Judgment pursuant to Federal Rule of Civil Procedure 58.

      It is therefore ORDERED that Defendant’s Motion for Summary Judgment be

GRANTED and Plaintiffs’ claims be DISMISSED without prejudice.

      It is also ORDERED that the Clerk of the Court CLOSE this case.

      It is so ORDERED.

      SIGNED this 8th day of April, 2024.




                                            DAVID COUNTS
                                            UNITED STATES DISTRICT JUDGE
